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January 31, 2025

BY ECF

The Honorable Brian M. Cogan
United States District Court – E.D.N.Y.
225 Cadman Plaza East
Brooklyn, New York 11201

         Re:     Full Circle United, LLC v. Bay Tek Entertainment, Inc. 20 Civ. 3395 (BMC)

Dear Judge Cogan:

        We represent Plaintiff Full Circle United, LLC (“Full Circle”) in the above-captioned
action against Defendant Bay Tek Entertainment, Inc. (“Bay Tek”). We write in connection with
the Amended Pretrial Order that the parties are filing today.

        On September 24, 2024, this Court ordered that, in addition to filing the Pretrial Order,
“the parties are to simultaneously file on the docket a set of those exhibits to which objection has
been made, and those portions of deposition testimony that a party intends to offer and to which
the adversary objects, both as reflected in the Joint Pretrial Order, so that the Court can rule on
the objections at the Final Pretrial Conference to the extent practicable.”

        According, we attach to this filing the exhibits identified by Bay Tek to which Full Circle
objects, and the portions of deposition testimony designated by Bay Tek to which Full Circle
objects. Video exhibits that cannot be uploaded to ECF will be provided via the Court's
procedures for digital-media filings at http://evidence.nysd.uscourts.gov/ following our
submission of a notice of request form.

        We note that the Court’s individual practice direct that courtesy copies are not to be
submitted in the ordinary course and that the parties provide copies of trial exhibits in duplicate
at the beginning of trial. We have endeavored to comply with these instructions, however if the
Court wishes to have a copy of any of today’s filings in advance of the final pretrial conference,
please do not hesitate to contact me.


                                                                Respectfully submitted,

                                                                /s/ Rishi Bhandari
                                                                Rishi Bhandari

enclosures
